Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 1 of 24 PageID #: 10371




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE




  CONSUMER FINANCIAL PROTECTION
  BUREAU

             Plaintiff,

             v.

  THE NATIONAL COLLEGIATE MASTER
  STUDENT LOAN TRUST; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST
  2003-1; NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2004-1;
  NATIONAL COLLEGIATE STUDENT                Case No. ______________17-1323
  LOAN TRUST 2004-2; NATIONAL                (MN)
  COLLEGIATE STUDENT LOAN TRUST
  2005-1; NATIONAL COLLEGIATE                FIRST AMENDED COMPLAINT
  STUDENT LOAN TRUST 2005-2;                 FOR PERMANENT INJUNCTION
  NATIONAL COLLEGIATE STUDENT                AND OTHER RELIEF
  LOAN TRUST 2005-3; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST
  2006-1; NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2006-2;
  NATIONAL COLLEGIATE STUDENT
  LOAN TRUST 2006-3; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST
  2006-4; NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2007-1;
  NATIONAL COLLEGIATE STUDENT
  LOAN TRUST 2007-2; NATIONAL
  COLLEGIATE STUDENT LOAN TRUST
  2007-3; and NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2007-4,
  Delaware Statutory Trusts,

             Defendants.


                                 INTRODUCTION

       1.    Plaintiff, the Consumer Financial Protection Bureau (“Bureau”), brings
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 2 of 24 PageID #: 10372




 this action against the fifteen (15) National Collegiate Student Loan Trusts

 (“Defendants,” or “NCSLTs”, or “the Trusts”) under sections 1031(a), 1036(a), and

 1054(a)), and 1055 of the Consumer Financial Protection Act of 2010 (“CFPA”), 12

 U.S.C. §§ 5531, 5536(a), 5564(a), 5565, to obtain permanent injunctive relief,

 restitution, refunds, disgorgement, damages, civil money penalties, and other

 appropriate relief for Defendants’ violations of Federal consumer financial law in

 connection with Defendants’ servicing and collection of private student loan debt.

        2.     The Bureau has reviewed the debt -collection and litigation practices of the

 fifteen (15) Delaware statutory trusts referred to as the National Collegiate Student Loan

 Trusts, whichthat are the National Collegiate Master Student Loan Trust, NCSLT 2003

 1, NCSLT 2004-1, NCSLT 2004-2, NCSLT 2005-1, NCSLT 2005-2, NCSLT 2005-3,

 NCSLT 2006 1, NCSLT 2006 2, NCSLT 2006 3, NCSLT 2006 4, NCSLT 2007 1,

 NCSLT 2007 2, NCSLT 2007 3,Defendants in this action and NCSLT 2007 4), as

 performed bythe practices of Defendants’ Servicers and Subservicers (as defined below)

 pursuant to the various servicing agreements between Defendants and each such

 Servicer or agreements between a Servicer and a Subservicer.agents.

        3.     To collect on defaulted private student loans, Defendants’ Servicersagents

 filed collections lawsuits on behalf of Defendants in state courts across the country. In

 support of these lawsuits, Subservicers on behalf of DefendantsDefendants’ agents

 executed and filed affidavits that falsely claimed personal knowledge of the account

 records and the consumer’s debt and, in many cases, personal knowledge of the chain of

 assignments establishing ownership of the loans. In addition, Defendants’ Servicers on

 behalf of Defendantsagents filed at least 2,000 collections lawsuits on Defendants’

 behalf either without the documentation necessary to prove Trust ownership of the


                                              2
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 3 of 24 PageID #: 10373




 loans or on debt that was time-barred. Finally, notaries for Defendants’ Servicersagents

 notarized more than 25,000 affidavits even though they did not witness the affiants’

 signatures.

                             JURISDICTION AND VENUE

        4.     The Court has subject-matter jurisdiction over this action because it is

 brought under Federal consumer financial law, 12 U.S.C. § 5565(a)(1), presents a federal

 question, 28 U.S.C. § 1331, and is brought by an agency of the United States, 28 U.S.C.

 § 1345.

        5.     Venue is proper in this District because Defendants are located and do

 business in this District. 12 U.S.C. § 5564(f).

                                        PLAINTIFF

        6.     The Bureau is an independent agency of the United States charged with

 regulating the offering and provision of consumer financial products or services under

 Federal consumer financial laws. 12 U.S.C. § 5491(a). The Bureau has independent

 litigating authority to enforce Federal consumer financial laws, including the CFPA.

 12 U.S.C. §§ 5531(a), 5564(a)–(b).

                                      DEFENDANTS

        7.     Defendants are any and all of the fifteen (15) Delaware statutory trusts

 referred to as the National Collegiate Student Loan Trusts (“NCSLTs” or “the Trusts ,”

 which are the National Collegiate Master Student Loan Trust, NCSLT 2003-1, NCSLT

 2004-1, NCSLT 2004-2, NCSLT 2005-1, NCSLT 2005-2, NCSLT 2005-3, NCSLT 2006-

 1, NCSLT 2006-2, NCSLT 2006-3, NCSLT 2006-4, NCSLT 2007-1, NCSLT 2007-2,

 NCSLT 2007-3, and NCSLT 2007-4) and their successors and assigns.

        8.     Defendants are “covered person[s]” under the CFPA, 12 U.S.C. §


                                               3
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 4 of 24 PageID #: 10374




 5481(6)).The CFPA defines “covered person” as “any person that engages in offering or

 providing a consumer financial product or service” and “any affiliate of [such a person]

 if such affiliate acts as a service provider to such person.” 12 U.S.C. § 5481(6).

 Defendants are “person[s]” as defined by the CFPA because they engaged in are

 “trust[s]” and, under Delaware law, unincorporated associations. 12 U.S.C. § 5481(19).

 Defendants offer or provide a “consumer financial product or service ” because they

 engage in “servicing loans, including acquiring, [and] purchasing selling [or] brokering”

 and ” loans, which are themselves extensions of credit that are offered or provided for

 use by consumers primarily for personal, family, or household purposes , and also

 engage in the collection of debt. related to these extensions of credit. 12 U.S.C. § 5481(5),

 (15)(A)(i), (x).

                                PROCEEDINGS TO DATE

        9.      This action was initially filed by the Bureau on September 18, 2017, along

 with a proposed consent judgment seeking to settle the Bureau’s claims and a joint

 motion by the Bureau and Defendants to approve the settlement. The filing of the

 complaint and settlement was authorized by then Bureau Director Richard Cordray. At

 the time of filing, the CFPA provided that the Director of the Bureau could be removed

 from that position by the President of the United States for “inefficiency, neglect of duty,

 or malfeasance in office.” 12 U.S.C. § 5491(c)(3).

        10.     From September 20 to October 10, 2017, seven parties who professed

 interest in Defendants or the settlement filed motions to intervene in this action.

 Briefing on the motions to intervene was completed by November 20, 2017.

        11.     In November 2017, Director Cordray resigned. From November 28, 2017,

 until December 17, 2018, the Bureau was headed by an Acting Director appointed to fill


                                               4
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 5 of 24 PageID #: 10375




 the vacancy. The Acting Director, Mick Mulvaney, was removable by the President at

 will. During the Acting Director’s tenure, the Bureau continued to prosecute this action.

       12.    On July 10, 2018, counsel for Defendants moved to withdraw for non-

 payment. The Court granted this request on July 16, 2018, and ordered Defendants to

 retain new counsel within 30 days.

       13.    On September 20, 2018, this case was reassigned from Judge Gregory M.

 Sleet to Judge Maryellen Noreika.

       14.    As of the date of reassignment, the initial complaint and motion to

 approve the proposed consent judgment had been pending for just over a year, the

 motions to intervene had been pending for almost a year, Defendants had been without

 counsel for over two months, and Defendants were more than a month delinquent in

 complying with the Court’s order to retain new counsel.

       15.    On October 19, 2018, the Court granted the motions to intervene. On

 November 1, 2018, the Court ordered the parties to propose a schedule for briefing the

 motion to approve the consent judgment and for any related discovery.

       16.    On November 16, 2018, in the parties’ joint submission to the Court, the

 Bureau argued that the Court should schedule briefing on disputed threshold legal

 issues without permitting the parties to engage in discovery. On November 29, 2018, the

 Court issued a scheduling order rejecting the Bureau’s argument and permitting

 discovery on the disputed threshold legal issues. The scheduling order called for

 discovery to close on February 22, 2019. In fact, discovery on the threshold issu es would

 extend until February 12, 2020.

       17.    On December 17, 2018, Kathleen Kraninger, who had been confirmed by




                                             5
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 6 of 24 PageID #: 10376




 the Senate, became the Bureau’s Director, replacing Acting Director Mick Mulvaney.

        18.    On December 21, 2018, less than thirty days after entry of the scheduling

 order, the Bureau served requests for documents on certain Intervenors and served

 subpoenas for documents on certain third parties regarding the threshold legal issues.

 From that date until the close of discovery, the Bureau prosecuted this action vigorously,

 including by litigating numerous discovery disputes.

        19.    Briefing on the threshold legal issues related to the proposed consent

 judgment that had been filed with the Bureau’s original complaint was completed on

 April 30, 2020. On May 31, 2020, the Court denied the motion to approve the proposed

 consent judgment on the ground that the counsel who had executed the settlement on

 Defendants’ behalf did not have authority to do so.

        20.    On June 11, 2020, the Bureau served a summons and the complaint on

 Defendants via process server. Service was necessary after the Court denied entry of the

 settlement, which had included a waiver of service .

        21.    On June 29, 2020, the Supreme Court issued its ruling in Seila Law, LLC,

 v. Consumer Financial Protection Bureau, 140 S. Ct. 2183 (2020), holding that the “for

 cause” removal provision contained in the CFPA was unconstitutional but severable

 from the rest of the statute.

        22.    On July 2, 2020, the Bureau filed an application for entry of default

 against Defendants for failure to timely answer or respond to the complaint.

        23.    On July 10, 2020, certain Intervenors moved to dismiss this action under

 Rules 12(b)(1) and (6), arguing for the first time that because of the CFPA’s for-cause

 removal provision, the Bureau lacked authority to file its complaint in September 2017.

        24.    On July 17, 2020, the Bureau filed a declaration executed by Director


                                             6
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 7 of 24 PageID #: 10377




 Kraninger ratifying the 2017 filing of this action.

        25.    On February 5 and 10, 2021, counsel for Defendants appeared for the first

 time in the action since July 10, 2018.

 DEFENDANTS’ UNLAWFUL ACTS OR PRACTICESBUSINESS STRUCTURE

                                   AND OPERATIONS

        9.26. The NCSLTs comprise fifteen (15) Delaware statutory trusts

 createdDefendants were organized between 2001 and 2007. under the Delaware

 Statutory Trusts Act. Del. Code Ann. tit. 12, § 3801 et seq.

        27.    The basic purpose of each TrustDefendant is to acquire a pool of private

 student loans, execute the indentures andto issue notes secured by the poolsthat pool of

 student loans, enter into the so-called trust-related and to service and collect on those

 student loans.

        10.28. The activities and operations Defendants engage in to execute their basic

 purposes are delineated in a number of agreements, and provide for the administration

 of the Trusts and the collectively referred to as the Trust-Related Agreements. These

 agreements include, but are not limited to, for each Trust, a Trust Agreement, an

 Indenture, an Administration Agreement, and servicing and agreements defining how

 Defendants’ loan servicing and debt collection of student loansactivities are to be carried

 out.

        11.    Each Trust is an Owner-directed Delaware statutory trust formed under

 the laws of Delaware.

        29.    Defendants act in their own name. However, they do not haveact through

 employees, or officers. Instead, Defendants act through entities that are empowered




                                               7
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 8 of 24 PageID #: 10378




 according to relevant Trust-Related Agreements to act in the Trusts’ name. The Trusts

 also contracted with entities that acted as the Trusts’ agents.

        30.     The Trusts explicitly represent and all actions relating to the

 administration of covenant in their Trust Agreements and Indentures that they will act

 only in their own name.

        12.31. The Trusts explicitly represent and covenant in their Trust Agreements

 and Indentures that they will engage in the Trusts, business of acquiring, owning, and

 servicing of the student loans, and collecting debt are carried out by Defendants’

 Servicers. .

        32.     Defendants’ Servicers are any The Trusts explicitly represent and covenant

 in their Indentures that they are responsible for compliance with all Federal laws and

 regulations applicable to the acquired student loans.

        33.     The Trusts explicitly represent in their Indentures that the actions of

 entities acting within the prescribed authority of relevant Trust-Related Agreements are,

 legally, the actions of the Trusts themselves.

        34.     The Trusts acquired more than 800,000 private student loans from

 originating lenders.

        35.     The Trusts engage in regular servicing of these student loans through

 certain designated entities including Intervenor Pennsylvania Higher Education

 Assistance Agency. In the Indentures, the Trusts explicitly represent that the actions of

 these entities, acting within the prescribed authority of relevant servicing agreements,

 are, legally, the actions of the Trusts themselves.




                                               8
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 9 of 24 PageID #: 10379




         36.    The Trusts also engage in delinquent or default servicing and debt

 collection activities through certain designated entities, and contract with subservicers

 to assist in these activities.

         37.    Debt collection activities include the filing of debt collection lawsuits filed

 against allegedly defaulted borrowers. Thousands of debt collection lawsu its have been

 filed against borrowers whose loans are held or allegedly held by the Trusts since 2012.

 In these lawsuits the relevant Trust is the named plaintiff in the action. Relevant Trusts

 are also named as defendants in countersuits or other actions related to the allegedly

 held debt by borrowers. The relevant Trusts have defended such actions in their own

 name.

         38.    In 2009, the Trusts entered into the Special Servicing Agreement (“SSA”).

 The SSA appointed a “Special Servicer, Primary” to ensure the servicing, collection, and

 litigation of delinquent and defaulted student loans.

         39.    When acting pursuant to the SSA the Special Servicer, Subservicer, acts for

 and represents the Trusts, and the Special Servicer’s actions are deemed to be the

 actions of the Trusts.

         40.    The SSA required that the Trusts, acting through the Special Servicer,

 Administrator,hire subservicers to enforce and anycollect on delinquent and defaulted

 student loans.

         41.    The SSA empowered the Trusts, acting through the Special Servicer, to

 oversee, supervise, and direct the subservicers.

         42.    In 2012, upon the resignation of the Special Servicer and pursuant to the

 terms of the SSA, the Back-Up Special Servicer, Intervenor US Bank, assumed the role

 of Special Servicer.


                                                9
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 10 of 24 PageID #: 10380




       43.    Upon assumption of the role of Special Servicer, the Back-Up Special

 Servicer became subject to all of the terms and conditions of the SSA.

       44.    The SSA required that the Trusts, acting through the Special Servicer,

 enter into and adhere to the Default Prevention and Collection Services Agreement

 (“DPCSA”) to engage a “Subservicer” to enforce and collect on delinquent and defaulted

 student loans.

       45.    Under the DPCSA the Trusts, acting through the Special Servicer, had the

 right to exercise control over the Subservicer by, among other individualthings:

              a. replacing the Subservicer;

              b. directing the means and manner by which the Subservicer engaged in

                  the services it provided under the DPCSA;

              c. exercising control over who the Subservicer employed or entity acting

                  contracted with to engage in the services it provided under the DPCSA;

              d. retaining the right to audit the Subservicer’s books and records;

              e. overseeing the Subservicer’s provision of services under the DPCSA;

              f. requiring the Subservicer to provide monthly reports on its provision of

                  services under the DPCSA; and

              g. maintaining authority over the terms of the operating guidelines that

                  dictated how the Subservicer could engage in collections litigation

                  under the DPCSA.

       46.    The DPCSA provides that the Subservicer is engaged for the benefit of the

 Trusts, including by providing that:

              a. the Subservicer agrees to take no action that would damage the

                  reputation of the Trusts;


                                              10
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 11 of 24 PageID #: 10381




               b. the Subservicer agrees to disclose that it is acting in a representative

                   capacity on behalf of the Trusts with respect to the servicing and

                   collection of the student loans owned by the Trusts, whether retained

                   directly by Defendants or retained by an individual or entity acting on

                   when hiring counsel to engage in debt collections litigation, and when

                   preparing any document in support of debt collections litigation filed

                   for the Trusts’ benefit;

               .c. the Subservicer is appointed to maintain records on the Trusts’ behalf

                   of Defendants.;

        14.    Each Servicer is a “covered person” under 12 U.S.C. § 5481(6) because it

 engaged in “servicing loans, including acquiring, purchasing, selling, [or] brokering”

 and in “collecting debt.” 12 U.S.C. § 5481(15)(A)(i), (x).

        15.    Each Servicer acted as an agent of the Trusts.

               d. the Subservicer is compensated for its services under the DPCSA by the

                   Trusts; and

               e. the Subservicer deposits money collected as a result of its services

                   under the DPCSA into accounts maintained for the Trusts’ benefit.

        47.    As of March 1, 2009, the Subservicer appointed by the DCPSA was NCO

 Financial Systems, Inc.

        16.48. Since November 1, 2014, Defendants’the Subservicer appointed by the

 DPCSA, as amended, has been Intervenor Transworld Systems, Inc.

        17.    The Trusts hold more than 800,000 private student loans sold by

 originating lendersPursuant to its obligations to the Trusts.




                                              11
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 12 of 24 PageID #: 10382




        18.     Debt-collection activities on behalf of Defendants are carried out by

 Defendants’ Servicers, including under the Special Servicer andDPCSA, the

 Subservicers.

        19.49. Defendants’ Servicers and other entities executed, and notarized, and filed

 deceptive affidavits and caused them to be filed in debt collection actions brought on

 behalf of Defendantsthe Trusts.

        20.50. Defendants’ Servicers and other entities, on behalf of Defendants,Pursuant

 to its obligations to the Trusts under the DPCSA, the Subservicers filed or caused to be

 filed collections lawsuits lacking documentation needed to prove owne rship of the loans.

        21.     In 2009, Defendants entered into a special servicing agreement with the

 Special Servicer in order to provide for the servicing, collection, and litigation of

 delinquent and defaulted loans. This agreement required the Special Servicer to hire

 Subservicers and enter into and adhere to the Default Prevention and Collection

 Services Agreement of March 1, 2009, as amended.

        22.     In 2012, upon the resignation of the Special Servicer and pursuant to the

 terms of the special servicing agreement, the Back Up Special Servicer assumed the role

 of Special Servicer.

        23.     In 2012, the Special Servicer amended the Default Prevention and

 Collection Services Agreement of March 1, 2009 in order to expand the role of the

 Subservicer to Defendants with respect to the collection and enforcement of the student

 loans owned by Defendants.

              FALSE AND MISLEADING AFFIDAVITS AND TESTIMONY

        24.51. In connection with collecting or attempting to collect debt from

 consumers, between November 1, 2012, and April 25, 2016, the Subservicers, acting


                                              12
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 13 of 24 PageID #: 10383




 through Defendants’ Special Servicer and acting on behalf of Defendants, initiated

 94,046 collections lawsuits in courts across the country.

       52.    In each of these collections lawsuits, the relevant Defendant that

 purported to own the subject student loan was listed as the named plaintiff.

       25.53. In support of the collections lawsuits, the Subservicers acting on behalf of

 Defendants submitted affidavits and documents in support of Defendants’ claims that

 consumers owed debts to Defendants.

       26.54. AffiantsThe Subservicers’ affiants executed and notarized affidavits on

 behalf of Defendants executed, notarized, and caused those affidavits to be filed

 affidavits—often attaching exhibits—in Defendants’ collections lawsuits.

       27.55. In these affidavits, the affiants swore that they had personal knowledge of

 the educationstudent loan records evidencing the debt.

       28.56. In fact, in numerous instances, affiants lacked personal knowledge of the

 educationstudent loan records evidencing the debt when they executed the affidavits.

       29.57. The affiants also swore in the affidavits that they were authorized and

 competent to testify about the consumers’ debts through review of and “personal

 knowledge” of the business records, including electronic data, in their possession.

       30.58. In fact, in numerous instances, affiants lacked personal knowledge of the

 business records, including the electronic data, showing that consumers owed debts to

 the Defendants.

       31.59. Affiants were instructed to review data on a computer screen to verify

 information in the affidavits about the debts. Affiants, however, did not know the source

 of the data on that screen, how the data was obtained or maintained, whether it was

 accurate, or whether those data meant that the debt was in fact owed to Defendants.


                                            13
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 14 of 24 PageID #: 10384




         32.60. Each affiant also swore that he or she had “personal knowledge of the

 record management practices and procedures of Plaintiff [the Trust] and the practices

 and procedures Plaintiff requires of its loan servicers and other agents.”

         33.61. In fact, affiants lacked personal knowledge of the record m anagement

 practices and procedures of Defendants andor the practices and procedures of

 Defendants’ agentsthe entities through which Defendants acted.

         34.62. In many affidavits, the affiants also swore, “I have reviewed the chain of

 title records as business records” regarding the relevant account.

         35.63. In fact, in numerous instances, affiants did not review the chain of

 assignment records prior to executing the affidavits. In some cases, affiants reviewed

 only “chain of title” records that had been found online. In fact, at least one of

 Defendants’ Servicersthe Subservicers instructed affiants that they did not need to

 review the chain of assignment records before executing affidavits that represented that

 the affiant had reviewed those records.

         36.64. In fact, affiants did not have access to deposit and sale agreements—the

 last link in the chain of assignment transferring loans into the Trust—until May 30,

 2014.

         37.65. In many affidavits, the affiants asserted that they had personal knowledge

 that the loans were transferred, sold, and assigned to the Trusts on dates certain.

         38.66. In fact, affiants lacked personal knowledge of the chain of assignment

 records necessary to prove that the relevant Trust owned the subject loan.

         39.67. In some instances, when affiants complained to management that they did

 not have personal knowledge of certain representations made in the affidavits,

 Defendants’ Servicersthe Subservicers instructed the affiants to continue signing the


                                              14
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 15 of 24 PageID #: 10385




 affidavits. In some instances, affiants felt “bullied” by management and followed the

 instructions for fear of losing their jobs.

        40.68. On numerous occasions, to address a backlog of affidavits, employees of

 Defendants’ Servicersthe Subservicers such as interns and mailroom clerks were

 instructed to execute affidavits.

        41.69. On numerous occasions, between November 1, 2012, and September 1,

 2013, the ServicersSubservicer filed stale affidavits that had earlier been executed by a

 previous Servicerentity. Contrary to the statements in the affidavits, the affiants in

 question were no longer “authorized to testify” in the matter and no longer had access to

 or knowledge of the consumer’s account records or debt.

        42.70. Affiants also later provided live testimony in court, purportedly based on

 personal knowledge, similar to the statements made in the affidavits as described in

 Paragraphs 27 3855–66.

                         IMPROPERLY NOTARIZED AFFIDAVITS

        43.71. Between November 1, 2012, and August 3, 2014, in connection with

 collecting or attempting to collect debt from consumers, Defendants’

 ServicersSubservicers acting on behalf of Defendants filed at least 11,412 affidavits in

 collections lawsuits.

        44.72. Between November 1, 2012, and August 3, 2014, Defendants’

 ServicersSubservicer acting on behalf of Defendants improperly notarized virtually

 every affidavit executed and filed.

        45.73. Affiants executed the affidavits on their own outside the presence of the

 notary.

        46.74. Affiants placed executed affidavits in a specified location.


                                               15
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 16 of 24 PageID #: 10386




        47.75. Defendants’ Servicers’Subservicers’ notaries later notarized stacks of

 previously signed affidavits all at once at their desks.

        48.76. Contrary to the representations in the affidavits, affiants did not

 personally appear before notaries.

        49.77. Contrary to the representations in the affidavits, notaries did not place the

 affiants under oath or witness their signatures.

        50.78. On numerous occasions, notaries notarized affidavits executed by affiants

 on a prior date. At least one of Defendants’ ServicersSubservicers instructed notaries to

 ensure that the notarization date matched the date of execution, even if that meant

 backdating the notarization date.

        51.79. In many cases, the notaries did in fact back date their notarization of the

 affidavits.

               FILING LAWSUITS WITHOUT THE INTENT OR ABILITY
                     TO PROVE THE CLAIMS, IF CONTESTED

        52.80. Defendants filed at least 1,214 collections lawsuits against consumers even

 though the documentation needed to prove they owned the loans was missing. Through

 these lawsuits, the Defendants obtained approximately $21,768,807 in judgments

 against consumers.

        53.81. In these lawsuits, documentation of a complete chain of assignment

 evidencing that the subject loan was transferred to the Defendants was missing.

        54.82. In addition, the Defendants filed at least 812 collections lawsuits where the

 documentation did not support the Trusts’ ownership of the loans. The chain of

 assignment documentation shows that these loans were allegedly transferred to

 Defendants before they were in fact disbursed to consumers.



                                              16
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 17 of 24 PageID #: 10387




        55.83. In at least 208 other collections lawsuits, the promissory note to prove

 that a debt was owed did not exist or cannotcould not be located.

        56.84. For each collections lawsuit described in Paragraphs 52 5580-83,

 Defendants could not prove that a debt was owed to Defendants, if contested.

        57.85. Defendants knew, or their processes should have uncovered, that these

 chain of assignment documents were missing or flawed, yet Defendants continued to file

 collections lawsuits.

                         COLLECTION OF TIME-BARRED DEBT

        58.86. In at least 486 collections lawsuits, in connection with collecting or

 attempting to collect debt from consumers, Defendants filed a collections lawsuit

 outside the applicable statute of limitations.

        87.    In numerous instances, in connection with collecting or attempting to

 collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

 implication, including by the filing of collections lawsuits itself, that the Trusts had a

 legal right to obtain judgment through their collections lawsuits.

                 THE CONSUMER FINANCIAL PROTECTION ACT

        59.88. The CFPA provides that it is unlawful for any covered person “to offer or

 provide to a consumer any financial product or service not in conformity with Federal

 consumer financial law, or otherwise commit any act or omission in violation of a

 Federal consumer financial law.” 12 U.S.C. § 5536(a)(1)(A). The CFPA grants the Bureau

 authority to commence a civil action against any person who violates a Federal

 consumer financial law, such as the CFPA. 12 U.S.C. § 5564(a).

                              VIOLATIONS OF THE CFPA




                                              17
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 18 of 24 PageID #: 10388




       60.89. The CFPA prohibits a covered person from committing or engaging in any

 “unfair, deceptive, or abusive act or practice” in connection with any transaction with a

 consumer for a consumer financial product or service, or the offering of a consumer

 financial product or service. 12 U.S.C. §§ 5531, 5536(a)(1)(B).

       61.90. Servicing loans and collecting debt are “consumer financial products or

 services” under the CFPA. 12 U.S.C. § 5481(15)(A)(i), (x).

                             DECEPTIVE ACTS OR PRACTICES

                                            COUNT I

                     False and Misleading Affidavits and Testimony

       62.91. The Bureau incorporates the allegations in Paragraphs 1–6170 by

 reference.

       63.92. In numerous instances, in connection with collecting or attempting to

 collect debt, Defendants represented to consumers, directly or indirectly, expressly or by

 implication, that affiants or witnesses in court had personal knowledge of the

 educationstudent loan records evidencing the debt.

       64.93. In fact, in numerous instances, those representations were false because

 affiants and witnesses lacked personal knowledge of the educationstudent loan records

 evidencing the debt when they executed the affidavits.

       65.94. In numerous instances, Defendants represented to consumers, directly or

 indirectly, expressly or by implication, that affiants and witnesses had personal

 knowledge of the record management practices and procedures of the TrustTrusts and

 the practices and procedures of the Trust requires of its loan servicers and other

 agentsentities through which the Trusts acted.

       66.95. In fact,In fact, in numerous instances those representations were false


                                             18
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 19 of 24 PageID #: 10389




 because affiants and witnesses lacked personal knowledge of the record management

 practices and procedures of the Trusts and the practices and procedures of Trusts’

 agentsthe entities through which the Trusts acted.

        67.96. In numerous instances, Defendants represented to consumers, directly or

 indirectly, expressly or by implication, that affiants and witnesses had reviewed the

 chain of title records and asserted that they had personal knowledge that the loans were

 transferred, sold, and assigned to the TrustTrusts on dates certain.

        68.97. In fact, onin numerous occasionsinstances those representations were

 false because, affiants and witnesses had not reviewed the chain of title records and

 lacked personal knowledge that the loans were transferred, sold and assigned to the

 TrustTrusts.

        69.98. Defendants’ false representations set forth in Paragraphs 63 6892–97 are

 material and likely to mislead consumers acting reasonably under the circumstances.

        70.99. Defendants’ false representations set forth in Paragraph 63 68Paragraphs

 92-97 constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

 5536(a)(1)(B).

                                         COUNT II

                           Improperly Notarized Affidavits

        71.100.        The Bureau incorporates the allegations in Paragraphs 1–6150 and

 71—79 by reference.

        72.101.        In numerous instances, in connection with collecting or attempting

 to collect debt, Defendants represented to consumers, directly or indirectly, expressly or

 by implication, that the affidavits submitted in support of itstheir collections lawsuits




                                              19
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 20 of 24 PageID #: 10390




 were properly sworn and executed before a notary.

        73.102.        In fact, in numerous instances, those representations were false

 because the affidavits were unsworn and executed outside the presence of a notary.

        74.103.        Defendants’ false representations set forth in Paragraphs 72

 73101–102 are material and likely to mislead consumers acting reasonably under the

 circumstances.

        75.104.        Defendants’ false representations set forth in Paragraph 72–73101–

 102 constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

 5536(a)(1)(B).

                                        COUNT III

      Filing Lawsuits without the Intent or Ability to Prove the Claims, if
                                  Contested

        76.105.        The Bureau incorporates the allegations in Paragraphs 1–6150 and

 80-85 by reference.

        77.106.        In numerous instances, in connection with collecting or attempting

 to collect debt, Defendants represented to consumers, directly or indirectly, expressly or

 by implication, that collections lawsuits were supported by valid and reliable legal

 documentation needed to obtain judgment.

        78.107.        In fact, in connection with numerous lawsuits, those

 representations were false because documentation of a complete chain of assignment

 evidencing that the subject loan was transferred to Defendants was missing.

        79.108.        In fact, in connection with numerous lawsuits, those

 representations were false because a promissory note proving the existence of the debt

 was missing.



                                             20
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 21 of 24 PageID #: 10391




        80.109.          In fact, in connection with numerous lawsuits, those

 representations were false because the Trusts could not prove their claims, if contested.

        81.110.          Defendants’ false representations set forth in Paragraphs 77

 80106–109 are material and likely to mislead consumers acting reasonably under the

 circumstances.

        82.111.Defendants’ false representations set forth in Paragraph 77–80106–109

 constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

 5536(a)(1)(B).

                                          COUNT IV

                              Collection of Time-Barred Debt

        83.112.          The Bureau incorporates the allegations in Paragraphs 1–6150 and

 86-87 by reference.

        84.113.          In numerous instances, in connection with collecting or attempting

 to collect debt, Defendants represented to consumers, directly or indirectly, expressly or

 by implication, that the Trusts had a legal right to obtain judgment through itstheir

 collections lawsuits.

        85.114.          In fact, in numerous instances, those representations were false

 because the statute of limitations on these loans had expired.

        86.115.          Defendants’ false representations set forth in Paragraphs 84

 85113–114 are material and likely to mislead consumers acting reasonably under the

 circumstances.

        87.116.          Defendants’ false representations set forth in Paragraph 84 85113–

 114 constitute deceptive acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531,

 5536(a)(1)(B).


                                               21
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 22 of 24 PageID #: 10392




                             UNFAIR ACTS OR PRACTICES

                                          COUNT V

      Filing Lawsuits without the Intent or Ability to Prove the Claims, if
                                  Contested

        88.117.        The Bureau incorporates the allegations in Paragraphs 1–6150 and

 80-85 by reference.

        89.118.        Under section 1031 of the CFPA, an act or practice is unfair if it

 causes or is likely to cause substantial injury to consumers which is not reasonably

 avoidable by consumers, and such substantial injury is not outweighed by countervailing

 benefits to consumers or to competition. 12 U.S.C. §§ 5531(c), 5536(a)(1)(B).

        90.119.        In numerous instances, in connection with collecting or attempting

 to collect debt through collections lawsuits, Defendants filed collections lawsuits without

 the intent or ability to prove the claims, if contested.

        91.120.        Defendants’ acts or practices have caused or were likely to cause

 substantial injury to consumers, estimated to be at least $3.5 million in payments made

 in connection with these lawsuits.

        92.121.        Consumers could not reasonably avoid the harm, and the harm was

 not outweighed by countervailing benefits to consumers or competition.

        93.122.        Defendants’ acts or practices set forth in Paragraph 90–92119–121

 constitute unfair acts or practices in violation of the CFPA. 12 U.S.C. §§ 5531(c),

 5536(a)(1)(B).

                                  CONSUMER INJURY

        94.123.        Consumers have suffered or were likely to suffer substantial injury

 as a result of Defendants’ violations of the CFPA. In addition, Defendants have been



                                              22
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 23 of 24 PageID #: 10393




 unjustly enriched as a result of their unlawful acts or practices.

                     THIS COURT’S POWER TO GRANT RELIEF

        95.124.        The CFPA empowers this Court to grant any appropriate legal or

 equitable relief including, without limitation, a permanent or temporary injunction,

 rescission or reformation of contracts, the refund of moneys paid, restitution,

 disgorgement or compensation for unjust enrichment, payments of damages or other

 monetary relief, limits on the activities or functions of Defendants, and civil money

 penalties. 12 U.S.C. § 5565(a). In addition, the CFPB may recover its costs in connection

 with the action, if it is the prevailing party. 12 U.S.C. § 5565(b).

                            PRAYERDEMAND FOR RELIEF

        96.125. Wherefore, the Bureau requests that the Court:

             a. Permanently enjoin Defendants from committing future violations of the

                  CFPA;

             b. Grant additional injunctive relief as the Court may deem to be just and

                  proper;

             c. Award such relief as the Court finds necessary to redress injury to

                  consumers resulting from Defendants’ violations of the CFPA, including,

                  but not limited to, rescission or reformation of contracts, the refund of

                  moneys paid, restitution, disgorgement or compensation for unjust

                  enrichment, and payment of damages or other monetary relief;

             d. Award the Bureau civil money penalties; and

             e. Award the Bureau the costs of bringing this action, as well as such other




                                               23
Case 1:17-cv-01323-SB Document 362-1 Filed 04/30/21 Page 24 of 24 PageID #: 10394




               and additional relief as the Court may determine to be just and proper.



 Dated: September 18, 2017April 30, 2021



                                        Respectfully submitted,

                                        ANTHONY ALEXIS
                                        Cara M. Petersen
                                        Acting Enforcement Director

                                        Deborah Morris
                                        Deputy Enforcement Director

                                        /s/ Carolyn Hahn             _
                                        Carolyn Hahn
                                        /s/ Gabriel Hopkins
                                        Gabriel Hopkins
                                        (E-mail:
                                        Carolyn.HahnGabriel.Hopkins@cfpb.gov)
                                        (Phone: 202-435-72507842
                                        Edward Keefe
                                        Stephen Jacques
                                        (E-mail:
                                        Edward.KeefeStephen.Jacques@cfpb.gov)
                                        (Phone: 202-435-91987368)
                                        Tiffany Hardy
                                        (E-mail: Tiffany.Hardy@cfpb.gov)
                                        (Phone: 202-435-9375)
                                        Enforcement Attorneys
                                        Consumer Financial Protection Bureau
                                        1700 G Street NW
                                        Washington, DC 20552
                                        Telephone: (202) 435-9198
                                        Facsimile: (202) 435-7722
                                        Email: Carolyn.Hahn@cfpb.gov

                                        For the Consumer Financial Protection Bureau




                                           24
